Case 3:20-cv-08570-JD Document 711-22 Filed 11/21/23 Page 1 of 4




VANDERSLICE DECL.
   EXHIBIT A12
DocuSign Envelope ID: A2497910-4728-42D0-B6A9-CE08CB1967DE
                      Case 3:20-cv-08570-JD Document 711-22 Filed 11/21/23 Page 2 of 4




                                    IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA


              MAXIMILIAN KLEIN, et al., on behalf of
              themselves and all others similarly situated,

                                   Plaintiffs,

              v.                                                        Case No. 3:20-cv-08570-JD
              META PLATFORMS, INC., a Delaware
              Corporation,

                                   Defendant.



                                            DECLARATION OF ADAM MEHES

             Adam Mehes declares and states as follows:

                     1.      I am an employee of non-party X Corp. I have personal knowledge of the facts set

             forth in this declaration and could testify competently as to the matters set forth in this

             declaration.

                     2.      Based on my personal knowledge and on information provided to me by others at

             X Corp., I understand that the parties to the above-captioned litigation have submitted to the

             Court certain information that X Corp. has designated as Confidential or Highly Confidential

             under the Stipulated Protective Order dated July 11, 2022. Specifically, portions of the July 27,

             2023 Declaration of Dr. Nicholas Economides in Support of Consumer Plaintiffs' Motion for

             Class Certification Errata ("Economides Declaration") and the August 25, 2023 Expert Report of

             Yael Hochberg, PHD Errata ("Hochberg Report") refer to these materials.

                     3.      X Corp. believes that good cause and compelling reasons exist to keep the

             following X Corp.-related portions of the Economides Declaration and Hochberg Report under

             seal:
DocuSign Envelope ID: A2497910-4728-42D0-B6A9-CE08CB1967DE
                      Case 3:20-cv-08570-JD Document 711-22 Filed 11/21/23 Page 3 of 4




                                  Document                            Portion to Remain Under Seal

              Economides Decl. p. 55, ¶ 175                    The employee's name in footnotes 229 and
                                                               230

              Economides Decl. p. 56, ¶ 177                    From "Indeed" to the end of the paragraph
                                                               and including the employee's name in
                                                               footnote 231 and the entirety of footnote 232

              Economides Decl. p. 56, ¶ 178                    From "As [the employee's name]" to the end
                                                               of the paragraph and including footnote 233

              Economides Decl. p. 56, ¶ 180                    From "Twitter itself" to "open ecosystem" and
                                                               including footnotes 236 and 237

              Economides Decl. p. 57, ¶ 180                    From "Similarly, a Twitter" to the end of the
                                                               paragraph and including the employee's name
                                                               in footnote 240 and the entirety of footnotes
                                                               242, 243, and 244

              Economides Decl. p. 58, ¶ 184                    From "Indeed" to the end of the paragraph
                                                               and including footnote 253

              Hochberg Report p. 15, ¶ 34                      From "that allows" to the end of the sentence
                                                               and including footnote 34


                     4.      The above-referenced material reflects non-public market and/or product feature

             analysis, privacy information, and other confidential information belonging to X Corp. This

             information is highly sensitive, and X Corp. takes very seriously the need to keep such

             information confidential. X Corp. believes that the disclosure of this information would be

             competitively damaging to X Corp. because, among other reasons, it would give confidential

             information about X Corp. and its market and product feature analysis to X Corp.'s competitors.

             This information is also potentially damaging to X Corp. employees.
DocuSign Envelope ID: A2497910-4728-42D0-B6A9-CE08CB1967DE
                      Case 3:20-cv-08570-JD Document 711-22 Filed 11/21/23 Page 4 of 4




                     I declare, under penalty of perjury, that the foregoing is true and correct.



                                03 November 2023
               Executed on: _______________________                  _______________________

                                                                     Adam Mehes
                                                                     Senior Director, Legal, X Corp.
